COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Sanborn v. CommissionerDocket No. 91533.United States Board of Tax Appeals39 B.T.A. 721; 1939 BTA LEXIS 989; April 7, 1939, Promulgated *989  1.  Where executors, after their discharge under Missouri law, filed a petition with the Board for redetermination of the estate's income tax liability, held, in a proceeding to determine the liability of a transferee from the estate, that the petition was properly filed and the proceeding, being on the Board's docket, tolled the running of the statute of limitations against the original taxpayer, and therefore against the transferee, until the decision of the Board became final, Revenue Act of 1928, secs. 277, 311; particularly since whatever notice of termination of fiduciary relationship was given came to respondent only as a result of the filing of the petition.  Revenue Act of 1928, sec. 312.  2.  Executors, even though previously discharged, having appealed to the Circuit Court of Appeals from an adverse determination on their petition relating to the tax liability of the estate, held, to be "the taxpayer" for purposes of such appeal, so that the Board's decision became final as to the original taxpayer upon the denial of the executors' petitioner for certiorari, the case having been affirmed by the Circuit Court of Appeals.  Revenue Act of 1926, sec. 1005.  3.  Assuming*990  that executors, after their discharge, were without power in any respect to represent the estate, filing by them thereafter of an estate income tax return, held, to require the conclusion that for purposes of applying the statute of limitations, filing of such return must be disregarded so that the statute never came into operation against the original taxpayer.  Revenue Act of 1928, sec. 276(a).  Charles E. Whittaker, Esq., and Henry N. Ess, Esq., for the petitioner.  Carroll Walker, Esq., and Elizabeth B. Fegan, Esq., for the respondent.  OPPER*721  This proceeding wa brought to redetermine the liability of petitioner as "transferee and/or fiduciary" for deficiencies in income tax *722  of the estate of William E. Minor for the taxable year 1929, in the sum of $22,295.50, plus interest.  The sole issue in the present proceeding is whether the proposed tax is barred by the statute of limitations.  FINDINGS OF FACT.  The facts set forth in the stipulation filed herein, and the incorporated exhibits, are found.  They may be summarized as follows: On January 2, 1929, petitioner and J. A. Minor were appointed executrix and*991  executor, respectively, of the estate of William E. Minor, deceased, who died December 15, 1928.  For convenience the estate of William E. Minor, deceased, will be hereinafter referred to as "the estate." On March 4, 1930, an extension of time for filing an income tax return for the estate was granted to petitioner as executrix.  On March 31, 1930, petitioner and her coexecutor were discharged from their capacities as executrix and executor by the Probate Court of Jackson County at Kansas City, Missouri.  After the discharge by the probate court, and on April 9, 1930, a Federal income tax return for the estate was filed by "Mrs. Marie M. Sanborn, Executrix, Estate of Dr. W. E. Minor, Deceased", signed and sworn to on April 8, 1930, by petitioner and J. A. Minor as "Executors." On April 8, 1932, respondent addressed and sent a letter to petitioner and J. A. Minor as executrix and executor of the estate, asserting a proposed deficiency assessment of income tax against the estate in the sum of $34,543.16, for the calendar year ended December 31, 1929.  On May 27, 1932, petitioner and J. A. Minor as "former executrix and executor of the estate of Dr. William E. Minor" filed a*992  petitioner with this Board for a redetermination of the proposed deficiency.  therein reciting "The petitioners are individuals residing at Kansas City, Missouri, and were the executrix and executor of the estate of Dr. William E. Minor, deceased, under the will, until discharged upon the closing of the estate March 31, 1930." In the affidavit of verification attached to the petition, petitioner stated under oath, "that she was discharged as said co-executrix upon the closing of the estate March 31, 1930." A similar statement was made in the verification of coexecutor J. A. Minor.  In his answer to this petition, filed June 22, 1932, respondent expressly admitted the above quoted allegation.  On agreement by the parties respondent made certain adjustments, by reason of which the proposed deficiency was reduced in amount.  On February 14, 1936, this Board rendered an opinion in the case (), and on March 30, 1936, a decision was duly entered, *723  finding a deficiency of $22,295.50.  In the opinion and decision the case was titled "Marie Minor Sanborn and J. A. Minor, former executrix and executor of the estate of Dr. William E. Minor, deceased. *993  " The introductory paragraph of the opinion states "The petitioners are executors of the estate of Dr. William E. Minor, deceased * * *." On June 25, 1936, petitioner and J. A. Minor "as former executrix and executor of the estate of Dr. William E. Minor, deceased" filed with the Board a petition for review by the United States Circuit Court of Appeals for the Eighth Circuit.  That court, by its opinion rendered February 17, 1937 (), affirmed the decision of the Board.  Application was then made by petitioner and her coexecutor "as former executrix and executor of the estate of Dr. William E. Minor, deceased" to the Supreme Court of the United States for a writ of certiorari, which was denied May 24, 1937 (). On July 17, 1936, respondent included the tax against the estate on his assessment list.  On August 10, 1936, a warant of distraint was issued against "the estate of Dr. William E. Minor, deceased, Marie Minor Sanborn and J. A. Minor, former executrix and executor, Kansas City, Missouri" and was returned unsatisfied on August 11, 1936, with a statement by the deputy collector of internal revenue that the assets of the*994  estate had been distributed to the legatees under the will and no assets remained out of which the tax claimed could be satisfied.  On distribution of the estate petitioner under the terms of the will received, prior to March 30, 1930, property of a value of not less than $250,000.  Under date of September 22, 1937, respondent sent a notice of deficiency to petitioner proposing to assess her with the sum of $22,295.50, plus interest thereon, as transferee of assets and/or as fiduciary of the estate of William E. Minor, deceased.  Within ninety days from the date of this letter and on December 10, 1937, petitioner filed the present appeal.  OPINION.  OPPER: Petitioner contends that she is not within the reach of respondent's determination on the ground that the statute of limitations has run.  Her argument may be summarized as follows: First, the executors, having been discharged on March 31, 1930, had no further concern or authority with respect to any Federal tax matters, even though they thereafter, on April 8, 1930, signed and verified and on April 9, 1930, filed a Federal income tax return describing themselves as *724  executors; second, the proceeding instituted*995  by them on behalf of the estate (the original taxpayer) in 1932 was consequently a nullity for every purpose and, even though it continued to be litigated for approximately five years, should be regarded as never having occurred and as being ineffectual to suspend the operation of the statute of limitations; and, third, that the statute has accordingly run since it expired one year after two years after the filing of the return.  This position appears at first glance to be so extreme and fantastic as not to be capable of support.  Upon closer examination it becomes, if possible, even less engaging, and it develops that not one but all three of petitioner's contentions are untenable.  First, while it may be conceded for present purposes that the discharge of petitioners as executors terminated their powers under the law of the State of Missouri, 1 it does not follow that for purposes of Federal taxation they were without standing, particularly that their authority with respect to the institution on behalf of the estate of a proceeding before the Board was terminated.  As we said in *996 ; affd.,  (C.C.A., 7th Cir.): The notice of their discharge, which the executors gave to the Commissioner, is immaterial for present purposes.  It did not serve to shorten the two-year period for assessment of the deficiency against the estate as provided in section 275(a) of the Revenue Act of 1928.  * * *.  The discharge of executors after a final accounting does not serve to shorten the period for assessment of a deficiency against the estate, nor to extinguish the liability of the estate, for Federal income tax, even though the executors exercised due diligence in determining whether or not any such liability existed.  Moreover: Irrespective of their previous discharge by the probate court, the executors could have used the deficiency notice as the basis for an appeal before the Board and the period of limitation would have been stayed during the pendency of a petition before us even though we lacked jurisdiction to redetermine the deficiency.  * * * [*997 .] And entirely beyond this the provisions of the Revenue Act of 1928, section 312, 2 make it clear that the power under the revenue act of a fiduciary *725  to represent and take the place of the taxpayer, upon notice of a fiduciary relationship, does not terminate until contrary notice.  Petitioner's signature, verification, and filing of an income tax return entitled "Mrs. Marie M. Sanborn, Executrix, Estate of Dr. W. E. Minor, Deceased" and executed "Marie M. Sanborn, John A. Minor, Executors" clearly gives the first type of notice.  It was given on April 9, 1930, after the discharge on which petitioner relies at terminating her authority and as far as the record shows nothing happened thereafter to change the situation until after the filing of the petition in 1932.  Even though it be conceded, as petitioner contends, that the petition was notice to the Commissioner of the termination of such fiduciary responsibility, that notice could not have been brought to the Commissioner's attention until after the petition had actually been filed with the Board. 3 This filing can*998  thus by no remote inference be regarded as ineffectual, invalid, or void in so far as the provisions of the Federal revenue laws are concerned.  *999  Second, the proceeding thus placed upon the docket of the Board, even though it had not been commenced under circumstances giving it every aspect of legality, would nevertheless have been sufficient to toll the running of the statute.  And it would have had that effect until the decision of the Board therein became final, even though the circumstances had been such that they would eventually have required the dismissal of the petition.  Revenue Act of 1928, sec. 277.4 Both the express language of the section and the purpose to be served call for that interpretation.  "Because the effect of the passage of time would be the same whether the Board made its decision on the merits or on some other ground, if the period stated in the statute of limitations meantime expired, it is reasonable to believe that Congress did not intend to have the time a proceeding was pending before the Board counted any more when the decision was a dismissal for want of jurisdiction than when it was not."  (C.C.A., 2d Cir.), affirming *1000 . As we said in ; affd.,  (C.C.A., 2d Cir.), on authority of , certiorari denied, : The clear intent of these sections of the acts is that if a petition is filed with the Board upon the basis of a deficiency notice the Commissioner shall not make *726  an assessment of the deficiency until the decision of the Board becomes final.  The prohibition goes into effect when a deficiency notice is mailed and "if a petition" is filed with the Board it continues until the decision of the Board in the proceeding becomes final.  To continue the force of the prohibition it is not essential that the petitioner be the taxpayer to whom the deficiency notice was sent.  It is sufficient if a petition is filed on the basis of the notice of deficiency.  In other words, the moving party in the petition filed from the notice must, for the purposes of the statute, be treated as the taxpayer until the decision of the Board has become final.  *1001 ; affd.,  (C.C.A., 8th Cir.); ; see . Of course, in the earlier proceeding involving the estate, the Board did not dismiss the proceeding nor determine that it was without jurisdiction.  It held the case for disposition on the merits, was affirmed on appeal taken by this petitioner, and certiorari was denied by the Supreme Court.  Instead of treating*1002  this as an aspect of the present proceeding less favorable to her than the cases cited, petitioner seeks to give it the opposite effect by making the further contention that, even though the proceeding before the Board be regarded as suspending the operation of the statute, the Board's decision became final when the time for appeal expired, in view of the fact that petitioners there were not authorized to appeal from the Board's ruling.  We are not favorably impressed by this argument, for the reasons stated in  (C.C.A., 2d Cir.): * * * Although we hold that a correct application of section 281 to the facts did not give the petitioners the powers, rights, and privileges of a taxpayer, nevertheless, since the Board has assumed to consider the petitioners as subject to its jurisdiction, we think they may be deemed the taxpayer for purposes of appeal to this court.  Otherwise the erroneous order could not be reviewed.  If more were needed, the statute is explicit as to the time when the Board's decision becomes final.  The Revenue Act of 1928 5 makes the provisions of section 1005 of the Revenue Act of*1003  1926 applicable.  The latter section 6 lists four hypothetical situations, of which only the third is clearly applicable to the earlier proceeding.  That is: *727  "* * * if the decision of the Board has been affirmed or the petition for review dismissed by the Circuit Court of Appeals." In that event the decision of the Board becomes final "upon the denial of a petition for certiorari." It appears to be inescapable that any suspension of the statute of limitations thus terminated sixty days after May 24, 1937, the date when certiorari was denied, and that the statute against this petitioner did not exprie until a year thereafter, 7 well beyond the date, September 22, 1937, of the deficiency letter addressed to her.  *1004 It does not follow from what has been said that petitioner's contention that the Board and the courts were without jurisdiction of the earlier proceeding is to be accepted.  While the question does not call for decision here, a reading of ; affd., ; affd., , and of , suggests the possibility that, in a case where the executor has been discharged but the estate is properly served with a deficiency notice within the two-year period, the executor has an election whether to accept the jurisdiction of the Board and litigate the substantive question of estate liability, or to challenge the authority of the Commissioner to proceed further.  If he does the latter by unmistakable assertion made in an appropriate and timely fashion, that election will be respected. . In the language of Mr. Justice Cardozo in that case, such a result would be consistent with "the thought of many judges" that "an executor discharged after a full and fair accounting is no longer to be vexed by*1005  the annoyance and expense of defending fruitless suits with assets no longer available for reimbursement or indemnity." This is far from saying, and we do not so read the Hulburd case, that an executor may not if he chooses resort to procedure before the Board for determining the substantive question of liability.  Upon this principle of an election in the executor the three cases last cited may be reconciled.  The Weigel case 8 decided the substantive question of estate liability after the executor's discharge and was affirmed long after the decision in And in , which was affirmed by the Supreme Court within a month of its decision in the Hulburd case, we said (p. 169): * * * It appears that the petitioner duly administered the estate, made final settlement of his accounts, and was discharged as administrator by the County Court of Milwaukee County in September 1928.  It does not appear that the petitioner ever notified the Commissioner of such final settlement and discharge.  The settlement of the estate and the final discharge of the administrator before the tax obligations*1006  were discharged neither extinguished the tax nor relieved the petitioner from his liability under the law to pay it.  Petitioner has *728  invoked the jurisdiction of this Board for a redetermination of the deflciency set forth in the notice addressed to him as executor of the decedent's estate.  No one has been misled as to the liability asserted.  In these circumstances we accept jurisdiction of the proceeding.  For the reasons stated it is not now necessary to comment further upon this question, nor upon the somewhat related issue raised by respondent that petitioner is now estopped to deny the Board's jurisdiction.  Other distinctions from the Hulburd case are not difficult to find.  That case was decided under the Revenue Act of 1926 and before the passage of section 312 of the 1928 Act referred to above.  The Supreme Court expressly refrained from deciding what would be the result if that section had been applicable as it was found to be by the court below, *1007 . 9 Nor was the effect upon the statute of limitations involved or decided, although that is the only question we have to determine here.  As we said in , (p. 390): "The question of whether the liability was barred by the statute of limitations was decided by us in a preliminary report () and was not presented to the Supreme Court for decision." It seems clear that the most that can be said for the hulburd case is that it is authority for concluding that the Board and the Circuit Court of Appeals erroneously decided the earlier proceeding.10 As we have said, and for the further reason that certiorari was there denied by the Supreme Court, this conclusion is difficult in the extreme to assume; but, assuming it for purposes of argument, its correctness can not be collaterally attacked here, ; and in any event it was still a proceeding on the docket of the Board sufficient to toll the statute until the decision of the Board became final upon the denial of certiorari. *1008  That result follows inevitably from the language of the statute and from the logic of the circumstances.  ;;;; and Third, and finally, if we accept the petitioner's argument as to the status of the executors, no necessity appears for any tolling of the statute.  To state her position as set forth in her brief, petitioner says: "An executor or administrator after final settlement and discharge becomes functus officio and can no longer act as such or as a representative of the estate for any purpose whatsoever." If that be so, and it is from that premise that petitioner's entire argument proceeds, the filing of the income tax return in April 1930, after the formal *729  discharge, was an unauthorized act.  It must be treated as a*1009  nullity, at least to the same extent - if again we accept the petitioner's argument - as the filing of the petition or of the appeal.  We are thus driven to conclude that no return was filed by the estate, and if no return was filed the statute of limitations never began to run.  Revenue Act of 1928, sec. 276(a).  It thus becomes completely immaterial whether anything was effective to toll the statute, and the Commissioner's assessment and any proceedings to collect would have been valid at any time.  ; . Decision will be entered for the respondent.Footnotes1. See , footnote 6. ↩2. SEC. 312.  NOTICE OF FIDUCIARY RELATIONSHIP.  (a) Fiduciary of taxpayer. - Upon notice to the Commissioner that any person is acting in a fiduciary capacity such fiduciary shall assume the powers, rights, duties, and privileges of the taxpayer in respect of a tsx imposed by this title (except as otherwise specifically provided and except that the tax shall be collected from the estate of the taxpayer), until notice is given that the fiduciary capacity has terminated.  (b) Fiduciary of transferee. - Upon notice to the Commissioner that any person is acting in a fiduciary capacity for a person subject to the liability specified in section 311, the fiduciary shall assume, on behalf of such person, the powers, rights, duties, and privileges of such person under such section (except that the liability shall be collected from the estate of such person), until notice is given that the fiduciary capacity has terminated.  (c) Manner of notice.↩ - Notice under subsection (a) or (b) shall be given in accordance with regulations prescribed by the Commissioner with the approval of the Secretary.  3. Rules of Practice before the U.S. Board of Tax Appeals, rules 6, 7, and 12. ↩4. SEC. 277.  SUSPENSION OF RUNNING OF STATUTE.  The running of the statute of limitations provided in section 275 or 276 on the making of assessments and the beginning of distraint or a proceeding in court for collection, in respect of any deficiency, shall (after the mailing of a notice under section 272(a)) be suspended for the period during which the Commissioner is prohibited from making the assessment or beginning distraint or a proceeding in court (and in any event, if a proceeding in respect of the deficiency is placed on the docket of the Board, until the decision of the Board becomes final), and for 60 days thereafter. ↩5. Sec. 272(h).  ↩6. SEC. 1005. (a) The decision of the Board shall become final - (1) Upon the expiration of the time allowed for filing a petition for review, if no such petition has been duly filed within such time; or (2) Upon the expiration of the time allowed for filing a petition for certiorari, if the decision of the Board has been affirmed or the petition for review dismissed by the Circuit Court of Appeals and no petition for certiroari has been duly filed; or (3) Upon the denial of a petition for certiorari, if the decision of the Board has been affirmed or the petition for review dismissed by the Circuit Court of Appeals; or (4) Upon the expiration of 30 days from the date of issuance of the mandate of the Supreme Court, if such Court directs that the decision of the Board be affirmed or the petition for review dismissed.  * * * ↩7. Revenue Act of 1928, sec. 311. ↩8. This appears to have involved an Illinois estate, like the Hulburd↩ case.  Cf. . 9. A comparable comment applies with respect to . ↩10. See Olsen v. Helvering Supra.↩